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                   Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 PageELECTRONICALLY     FILED
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                                                                                                                     U.S. DISTRICT
                                                                                              Case Number: CIRCUIT COURT   OF      COURT
State of Alabama
                                             COVER SHEET                                                                   N.D. OF ALABAMA
                                                                                                            CLAY COUNTY, ALABAMA
Unified Judicial System
                                       CIRCUIT COURT - CIVIL CASE                             17-CV-2019-900056.00
                                                                                                      JULIE G. POE, CLERK
                                         (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev. 9/18
                                                                                              12/04/2019

                                                 GENERAL INFORMATION
                                    IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA
                                      THOMAS E. VINSON ET AL v. ACADEMY LTD ET AL

First Plaintiff:       Business          Individual             First Defendant:         Business                Individual
                       Government        Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                 OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                    MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                      Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                         CVRT - Civil Rights
     TOWA - Wantonness                                        COND - Condemnation/Eminent Domain/Right-of-Way
     TOPL - Product Liability/AEMLD                           CTMP - Contempt of Court
     TOMM - Malpractice-Medical                               CONT - Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal                                 TOCN - Conversion
     TOOM - Malpractice-Other                                 EQND - Equity Non-Damages Actions/Declaratory Judgment/
     TBFM - Fraud/Bad Faith/Misrepresentation                        Injunction Election Contest/Quiet Title/Sale For Division

     TOXX - Other:                                            CVUD - Eviction Appeal/Unlawful Detainer
                                                              FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                        FORF - Fruits of Crime Forfeiture
     TOPE - Personal Property                                 MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TORE - Real Properly                                     PFAB - Protection From Abuse
                                                              EPFA - Elder Protection From Abuse
OTHER CIVIL FILINGS
                                                              FELA - Railroad/Seaman (FELA)
     ABAN - Abandoned Automobile
                                                              RPRO - Real Property
     ACCT - Account & Nonmortgage
                                                              WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     APAA - Administrative Agency Appeal
                                                              COMP - Workers’ Compensation
     ADPA - Administrative Procedure Act
                                                              CVXX - Miscellaneous Circuit Civil Case
     ANPS - Adults in Need of Protective Services

ORIGIN:      F       INITIAL FILING                      A       APPEAL FROM                               O       OTHER
                                                                 DISTRICT COURT

             R       REMANDED                            T       TRANSFERRED FROM
                                                                 OTHER CIRCUIT COURT

                                                                      Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                    YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                       MONETARY AWARD REQUESTED                    NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        WRI055                                   12/4/2019 3:36:11 PM                              /s/ RICHARD ALLEN WRIGHT
                                             Date                                              Signature of Attorney/Party filing this form


MEDIATION REQUESTED:                             YES    NO      UNDECIDED

Election to Proceed under the Alabama Rules for Expedited Civil Actions:                       YES      NO
                                           DOCUMENT 2
        Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 PageELECTRONICALLY
                                                                2 of 134          FILED
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                                                                                CIRCUIT COURT OF
                                                                             CLAY COUNTY, ALABAMA
                                                                               JULIE G. POE, CLERK
               IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA
THOMAS E. VINSON and
MATTHEW VINSON,

       Plaintiffs,
                                                      CIVIL ACTION NO. _________
vs.

EXTREME PRODUCTS GROUP, LLC, a
foreign company;                                             COMPLAINT AND
ACADEMY LTD. doing business as                            DEMAND FOR JURY TRIAL
ACADEMY SPORTS & OUTDOORS, a
foreign company;
KOHLBERG KRAVIS ROBERTS &
COMPANY, INC. a/k/a KKR & CO. INC.,
a foreign corporation;
FICTITIOUS DEFENDANTS 1-25,
individuals and/or entities who or which had
any role in the decisions and/or actions related
to ordering, stocking, and/or displaying store
merchandise, including the specific product
made the basis of this Complaint, at the
Academy Sports & Outdoors previously
located at 310 Doug Baker Blvd. in
Birmingham, Alabama; and
FICTITIOUS DEFENDANTS 26-50,
individuals and/or entities who or which had
any role in the design, manufacture, testing,
advertising and/or distribution of the specific
product made the basis of this Complaint;

       Defendants.



                                          COMPLAINT
       COME NOW, THOMAS E. VINSON and MATTHEW VINSON, by and through the

undersigned counsel, and bring forth this civil Complaint for damages:

                                        INTRODUCTION
       Inversion tables are devices promoted to allegedly reduce back and muscle pain by

relieving pressure on the user’s spine. The user, while standing with his back against the table-

                                           Page 1 of 19
                                          DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 3 of 134




like surface, secures his feet at one end of the table by adjusting the foot-locking mechanism

located at his ankles. The table has a pivoting mechanism which then allows the user to invert his

body into an upside-down, nearly vertical, position.

       Despite increasing demand for inversion tables for temporary back pain relief, no

adequate government regulations for inversion equipment have been created that mandate

essential manufacturing standards. With no regulations, manufacturers can build inversion tables

with inferior materials and cost-cutting techniques.

       Defects in the design of inversion tables are well-known within the industry. Indeed,

inversion tables with similar or identical foot-locking mechanisms have failed and been subject

to voluntary recalls by distributors as well as mandatory recalls by the Consumer Product Safety

Commission.

       Plaintiffs bring this case against Defendants for damages associated with the use of a

Body Vision IT9825 Inversion Table which was designed, manufactured, marketed, sold and

distributed by Defendants. Specifically, Plaintiff THOMAS E. VINSON suffered various

injuries, including but not limited to, physical pain and suffering and medical, hospital and

surgical expenses as a direct result of a defect in the foot-locking mechanism of the Body Vision

IT9825 Inversion Table.

                                            PARTIES
       1.      Plaintiff THOMAS E. VINSON is a resident of Phillipsburg, New Jersey.

       2.      Plaintiff MATTHEW VINSON is the son of THOMAS E. VINSON and a

resident of Ashland, Clay County, Alabama.

       3.      Defendant EXTREME PRODUCTS GROUP, LLC (“Extreme Products”) is

formed under the laws of the state of Delaware with its principal place of business in Phoenix,

Arizona. Extreme Products is a sporting goods manufacturer and designer which markets and

                                           Page 2 of 19
                                           DOCUMENT 2
        Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 4 of 134




distributes its products under the brand “Elite Fitness” and is the manufacturer of the Body

Vision Inversion Table. Extreme Products markets, sells, and distributes fitness and related

equipment throughout the United Stated, including Alabama.

       4.      Defendant ACADEMY LTD. d/b/a ACADEMY SPORTS & OUTDOORS

(“Academy Sports”) is formed under the laws of the state of Texas with its principal place of

business in Katy, Texas. Academy Sports, a sporting goods retailer authorized to do business in

and profiting from business in the State of Alabama, marketed and sold the defective Body

Vision Inversion Table at issue in this lawsuit.

       5.      KOHLBERG KRAVIS ROBERTS & CO. a/k/a KKR & CO. INC. (“KKR”)

is an investment firm formed under the laws of the state of Delaware with its principal place of

business in New York, New York. KKR is the parent company of Academy Sports.

       6.      FICTITIOUS DEFENDANTS 1-25 are individuals and/or entities doing

business in the State of Alabama, and at all times relevant to the allegations of the instant

Complaint, were doing business and/or involved in the decisions and/or actions related to

ordering, stocking, and/or displaying store merchandise, including the specific product made the

basis of this Complaint, at the Academy Sports & Outdoors previously located at 310 Doug

Baker Blvd. in Birmingham, Alabama. Each of said defendants is hereinafter collectively

referred to as “Defendants.”

       7.      FICTITIOUS DEFENDANTS 26-50 are individuals and/or entities doing

business in the State of Alabama, and at all times relevant to the allegations of the instant

Complaint, had a role in, or were responsible for, the design, manufacture, testing, advertising

and/or distribution of the specific product made the basis of this Complaint.




                                           Page 3 of 19
                                          DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 5 of 134




                                JURISDICTION AND VENUE

       8.      Plaintiff Matthew Vinson is a resident and citizen of Ashland, Clay County,

Alabama

       9.      Plaintiff Thomas E. Vinson was injured while using the Body Inversion Table

manufactured by Extreme Products and sold by Academy Sports previously located at 310 Doug

Baker Blvd. in Birmingham, Alabama. Plaintiff’s injuries occurred at his son’s residence in

Ashland, Clay County, Alabama.

       10.     At all times relevant to this action, Defendants, and each of them, engaged, either

directly or indirectly, in the business of designing, manufacturing, testing, advertising,

distributing, ordering, stocking, and/or displaying the inversion table at issue and permitting or

causing the inversion table at issue to be delivered to, and used by, Plaintiffs. Defendants knew,

and intended for, their product to reach Plaintiffs in Clay County, Alabama.

       11.     Jurisdiction is proper in the Circuit Court of Clay County, Alabama because a

substantial part of the events or omissions giving rise to this suit occurred in Clay County,

Alabama and Defendants committed torts in whole or in part against Plaintiff in Clay County,

Alabama.

                                 FACTUAL ALLEGATIONS

       12.     In January 2019, Plaintiff Matthew Vinson purchased an Extreme Products “Body

Vision IT9825 Premium Inversion Table” (hereinafter, the “IT9825”) from Academy Sports

previously located at 310 Doug Baker Blvd. in Birmingham, Alabama.

       13.     On its website, www.extremeproductsgroup.com, Extreme Products describes the

IT9825 as follows:



                                          Page 4 of 19
                                        DOCUMENT 2
         Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 6 of 134




               The Body Vision IT 9825 has support for maximum comfort.
               Unlike other inversion tables made out of plastic, or thin
               padding, this model incorporates thick comfortable structured
               foam, and a durable cover to ensure ultimate comfort. Be on
               your way to a better back with the Body Vision IT 9825
               Inversion Table.

                  •   Removable head pillow
                  •   Soft foam backrest
                  •   Easy grip foam handlebars
                  •   Adjustable and removable lumbar pad
                  •   Frame safety locking pin
                  •   4 position 20, 40, 60, and 90 degree inversion selector
                      pin
                  •   Sturdy steel tube frame
                  •   Inversion height adjust from 5’1” and 6’6”
                  •   Rolling wheels
                  •   Comfortable foam ankle rollers
                  •   30 minutes or less assembly
                  •   250lb weight capacity
                  •   Folds for easy storage

               Our Inversion Tables are designed to relieve back pressure,
               elongate the spine, increase blood circulation, reduce negative
               effects of gravity, promote stretching, improve posture, relieve
               muscle aches, and relieve stress.

         14.   The IT9825 purchased by Matthew Vinson cost approximately $120.00 before

taxes.

         15.   As indicated by the owner’s manual, the leg-hold tube, part of the foot-locking

mechanism on the IT9825, contained a spring pre-assembled inside the tube from the factory.

         16.   On or about February 1, 2019, while visiting his son in Ashland, Alabama,

Plaintiff Thomas E. Vinson attempted to use the IT9825 purchased by his son.

         17.   While in the inverted position hanging upside-down, the foot-locking mechanism

on the IT9825 unexpectedly released causing Thomas E. Vinson to fall straight down onto his

head with hyperflexion of his neck.




                                         Page 5 of 19
                                           DOCUMENT 2
        Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 7 of 134




       18.     Thomas E. Vinson was unaware of the defective design and the danger to him

posed by the defective design.

       19.     Thomas E. Vinson was taken by ambulance to the emergency room due to neck

pain, weakness and paralysis of the upper and lower extremities.

       20.     Emergency physicians diagnosed Thomas E. Vinson with a spinal cord injury,

and CT scans of the cervical spine revealed a fracture of the spinous process at C6.

       21.     On February 4, 2019, Thomas E. Vinson, who was age 70 at the time, underwent

a C6-C7 anterior cervical diskectomy and fusion (“ACDF”).

       22.     Following his discharge from the hospital, Plaintiff Thomas E. Vinson endured

weeks of physical and occupational therapy.

       23.     To date, Thomas E Vinson has recovered only a very small amount of movement

in his arms and legs, with little fine motor control, minimal ability to move with any significant

range of motion, and minimal ability to grip with his hands.

       24.     Thomas E. Vinson will require lifelong medical and related care, services,

equipment, and supplies as a result of his spinal injury.

       25.     Thomas E. Vinson has suffered and will continue to suffer pain and suffering,

medical costs, income loss and earning capacity losses as a result of his spinal injury.

                             COUNT I
         ALABAMA EXTENDED MANUFACTURER’S LIABILITY DOCTRINE
                     ALABAMA CODE § 6-8-501 et seq.

       26.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       27.     Defendants are strictly liable to Plaintiff Thomas E. Vinson under Ala. Code § 6-

5-501 et seq. (“AEMLD”).


                                            Page 6 of 19
                                           DOCUMENT 2
        Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 8 of 134




       28.     Defendants    have    engaged in    the business    of designing, researching,

manufacturing, marketing, supplying, promoting, packaging, selling, testing and/or distributing

the IT9825. Through their conduct, Defendants knowingly and intentionally placed the IT9825

into the stream of commerce with full knowledge that it reaches consumers, such as Plaintiffs,

who utilize it in its intended manner.

       29.     Defendants researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold and otherwise released the IT9825 into the stream

of commerce. Defendants directly advertised, marketed, and promoted the IT9825 to Plaintiffs

and other consumers, and therefore had a duty to warn of the risks associated with the use of the

IT9825.

       30.     Defendants expected the IT9825 to reach, and it did in fact reach, consumers,

including Plaintiffs, without any substantial change in the condition of the product from when it

was initially distributed by Defendants.

       31.     The IT9825, as manufactured and/or supplied by Defendants, was defective due

to inadequate warnings or instructions, Defendants knew or should have known that the product

created significant risks of serious bodily harm to consumers, as alleged herein, and they failed

to adequately warn consumers of such risks.

       32.     The IT9825 was defective and unsafe such that it was unreasonably dangerous

when it left the Defendants’ possession and/or control, was distributed by Defendants, and

utilized by Plaintiffs. The IT9825 contained warnings insufficient to alert consumers, including

Plaintiffs, to the dangerous risks associated with use of the IT9825, including falling while

inverted as Plaintiff Thomas E. Vinson did.




                                           Page 7 of 19
                                           DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 9 of 134




       33.     This defect caused serious injury to Plaintiff Thomas E. Vinson, who used the

IT9825 for its intended purpose and in a reasonably anticipated manner.

       34.     At all times herein mentioned, Defendants had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, supply, warn and

take such other steps as necessary to ensure the IT9825 did not cause users to suffer from

unreasonable and dangerous risks.

       35.     Defendants negligently and recklessly labeled, distributed and promoted the

IT9825.

       36.     Defendants had a continuing duty to warn Plaintiff of the dangers associated with

the IT9825.

       37.     Defendants, as manufacturers, sellers, or distributors of sporting goods and related

products, are held to the knowledge of an expert in the field.

       38.     Plaintiffs could not have discovered any defects in the IT9825 through the

exercise of reasonable care and relied upon the skill, superior knowledge and judgment of

Defendants.

       39.     Defendants were aware of the probable consequences of the aforesaid conduct.

Despite the fact that Defendants knew or should have known that the IT9825 could cause serious

injuries, they failed to exercise reasonable care to warn of the severity of the dangerous risks

associated with its use. The dangerous propensities of the IT9825, as referenced above, were

known to the Defendants, or knowable to them, through appropriate research and testing by

known methods, at the time they distributed, supplied or sold the product. Such information was

not known to ordinary consumers who would be expected to purchase the IT9825 for personal

use.



                                           Page 8 of 19
                                           DOCUMENT 2
          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 10 of 134




          40.   The IT9825, as manufactured and/or supplied by Defendants, was unreasonably

dangerous when used by consumers, including Plaintiffs, in a reasonably intended manner

without knowledge of this risk of serious bodily harm.

          41.   Each of the Defendants knew or should have known that the limited warnings

disseminated with the IT9825 were inadequate, but they failed to communicate adequate

information on the dangers of their product and information on the safe use of their product,

taking into account the characteristics of and the ordinary knowledge common to ordinary

consumers who would be expected to purchase the IT9825 for personal use.

          42.   In particular, Defendants failed to communicate warnings and instructions to

ordinary consumers that were appropriate and adequate to render the product safe for its

ordinary, intended, and reasonably foreseeable uses, including the common, foreseeable, and

intended use of the product by consumers, including Plaintiffs.

          43.   To this day, Defendants have failed to adequately and accurately warn of the true

risks of injuries associated with the use of the IT9825.

          44.   Due to these deficiencies and inadequacies, the IT9825 was unreasonably

dangerous and defective as manufactured, distributed, promoted, advertised, sold, labeled and

marketed by the Defendants.

          45.   Had Defendants properly disclosed and disseminated the risks associated with the

IT9825, Plaintiff Thomas E. Vinson would have avoided the risk of sustaining injuries as alleged

herein.

          46.   The Defendants are liable to Plaintiff Thomas E. Vinson for injuries caused by

their negligent or willful failure to provide adequate warnings or other clinically relevant




                                           Page 9 of 19
                                               DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 11 of 134




information and data regarding the appropriate use of the IT9825 and the risks associated with its

use.

        47.        As a foreseeable, direct, and proximate consequence of Defendants’ actions,

omissions, and misrepresentations, Plaintiff Thomas E. Vinson suffered a spinal cord injury

and fracture of the cervical spine, which caused partial quadriplegia, decreased

coordination and balance, occupational disruption and other related health complications.

In addition, Plaintiff Thomas E. Vinson requires, and will continue to require, healthcare and

services. Plaintiff Thomas E. Vinson has incurred and will continue to incur medical and related

expenses. Plaintiff Thomas E. Vinson also has suffered and will continue to suffer diminished

capacity for the enjoyment of life, a diminished quality of life, increased risk of premature death,

aggravation of preexisting conditions, activation of latent conditions, and other losses and

damages. Plaintiff Thomas E. Vinson has incurred and will continue to incur mental and physical

pain and suffering.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants, individually, jointly, and severally, and request compensatory and punitive damages,

together with interest, costs herein incurred, attorneys’ fees, and all such other and further relief

as this Court deems just and proper. Plaintiffs also demand that the issues contained herein be

tried by a jury.


                                              COUNT II
                                           DESIGN DEFECT

        48.        Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.




                                              Page 10 of 19
                                           DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 12 of 134




       49.     Defendants placed the IT9825 into the stream of commerce while it was defective

and unreasonably dangerous.

       50.     The IT9825 had a design defect in that it failed to perform as safely as an ordinary

user would expect when used in a manner reasonably foreseeable to the manufacturer.

       51.     The IT9825 was flawed in its design in that it failed to secure the user’s feet.

Specifically, the IT9825 failed to properly secure Plaintiff Thomas E. Vinson’s feet during the

foreseeable and intended use by Thomas E. Vinson.

       52.     The IT9825 was flawed in its design in that it failed to apprise the user that the

foot-locking mechanism was, or was not, fully engaged.

       53.     The IT9825 was flawed in its design in that it failed to utilize a foot-locking

mechanism which would affirmatively and effectively engage the user’s ankles and feet in place.

       54.     At the time the IT9825 was designed, safer alternative designs existed which were

both technically and economically feasible, and which would have eliminated and/or mitigated

the risk of the aforementioned foot release and fall.

       55.     The IT9825 reached Plaintiffs without substantial change to its condition and was

in that same condition at the time of Plaintiff Thomas E. Vinson’s injury.

       56.     The design defect was a direct and proximate cause of the damages, harms and

losses alleged in the instant action.

       57.     As a foreseeable, direct, and proximate consequence of Defendants’ actions,

omissions, and misrepresentations, Plaintiff Thomas E. Vinson suffered a spinal cord injury

and fracture of the cervical spine, which caused partial quadriplegia, decreased

coordination and balance, occupational disruption and other related health complications.

In addition, Plaintiff Thomas E. Vinson requires and will continue to require healthcare and



                                           Page 11 of 19
                                               DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 13 of 134




services. Plaintiff Thomas E. Vinson has incurred and will continue to incur medical and related

expenses. Plaintiff Thomas E. Vinson also has suffered and will continue to suffer diminished

capacity for the enjoyment of life, a diminished quality of life, increased risk of premature death,

aggravation of preexisting conditions, activation of latent conditions, and other losses and

damages. Plaintiff Thomas E. Vinson has incurred and will continue to incur mental and physical

pain and suffering.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants, individually, jointly, and severally, and request compensatory and punitive damages,

together with interest, costs herein incurred, attorneys’ fees, and all such other and further relief

as this Court deems just and proper. Plaintiffs also demand that the issues contained herein be

tried by a jury.

                                          COUNT III
                                    MANUFACTURING DEFECT

        58.        Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        59.        The IT9825 was designed, manufactured, marketed, promoted, sold and

introduced into the stream of commerce by Defendants.

        60.        When it left the control of Defendants, the IT9825 was expected to, and did reach

Plaintiff without substantial change from the condition in which it left Defendants’ control.

        61.        The IT9825 was defective when it left Defendants’ control and was placed in the

stream of commerce, in that there were foreseeable risks that exceeded the benefits of the

product and/or that it deviated from the product specifications and/or applicable requirements,

and posed a risk of serious injury and death.




                                              Page 12 of 19
                                           DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 14 of 134




       62.     Plaintiffs used the IT9825 in substantially the same condition it was in when it left

the control of Defendants and any changes or modifications were foreseeable by Defendants.

       63.     Plaintiffs did not misuse or materially alter the IT9825 at issue.

       64.     Defendants’ conduct, as described above, was reckless. Defendants risked the

lives and health of consumers and users of the IT9825, including Plaintiffs, with knowledge of

the safety problems associated with the IT9825, and suppressed this knowledge from the general

public. Defendants made conscious decisions not to redesign, adequately warn, or inform the

unsuspecting public. Defendants’ reckless conduct warrants an award of punitive damages.

       65.     As a foreseeable, direct, and proximate consequence of Defendants’ actions,

omissions, and misrepresentations, Plaintiff Thomas E. Vinson suffered a spinal cord injury

and fracture of the cervical spine, which caused partial quadriplegia, decreased

coordination and balance, occupational disruption and other related health complications.

In addition, Plaintiff Thomas E. Vinson requires and will continue to require healthcare and

services. Plaintiff Thomas E. Vinson has incurred and will continue to incur medical and related

expenses. Plaintiff Thomas E. Vinson also has suffered and will continue to suffer diminished

capacity for the enjoyment of life, a diminished quality of life, increased risk of premature death,

aggravation of preexisting conditions, activation of latent conditions, and other losses and

damages. Plaintiff Thomas E. Vinson has incurred and will continue to incur mental and physical

pain and suffering.

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants, individually, jointly, and severally, and request compensatory and punitive damages,

together with interest, costs herein incurred, attorneys’ fees, and all such other and further relief




                                           Page 13 of 19
                                               DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 15 of 134




as this Court deems just and proper. Plaintiffs also demand that the issues contained herein be

tried by a jury.

                                             COUNT IV
                                         FAILURE TO WARN

        66.        Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        67.        Defendants placed the IT9825 into the stream of commerce in an unreasonably

dangerous condition.

        68.        Defendants failed to include a specific warning that persons using the table could

be caused to suffer injury due to a defective foot-locking mechanism.

        69.        As a foreseeable, direct, and proximate consequence of Defendants’ actions,

omissions, and misrepresentations, Plaintiff Thomas E. Vinson suffered a spinal cord injury

and fracture of the cervical spine, which caused partial quadriplegia, decreased

coordination and balance, occupational disruption and other related health complications.

In addition, Plaintiff Thomas E. Vinson requires and will continue to require healthcare and

services. Plaintiff Thomas E. Vinson has incurred and will continue to incur medical and related

expenses. Plaintiff Thomas E. Vinson also has suffered and will continue to suffer diminished

capacity for the enjoyment of life, a diminished quality of life, increased risk of premature death,

aggravation of preexisting conditions, activation of latent conditions, and other losses and

damages. Plaintiff Thomas E. Vinson has incurred and will continue to incur mental and physical

pain and suffering.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants, individually, jointly, and severally, and request compensatory and punitive damages,

together with interest, costs herein incurred, attorneys’ fees, and all such other and further relief

                                              Page 14 of 19
                                               DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 16 of 134




as this Court deems just and proper. Plaintiffs also demand that the issues contained herein be

tried by a jury.

                                        COUNT V
                              NEGLIGENCE AND/OR WANTONNESS

        70.        Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        71.        At all times relevant to this action, Defendants had a duty to exercise reasonable

care and to comply with the existing standards of care in their preparation, design, research,

development, manufacture, inspection, labeling, marketing, promoting, and selling of the

IT9825, which Defendants introduced into the stream of commerce, including a duty to ensure

that users would not suffer from unreasonable, dangerous, or adverse side effects posed by the

IT9825.

        72.        At all times relevant to this action, Defendants knew or, in the exercise of

reasonable care, should have known that the IT9825 was unreasonably dangerous and defective

when used as directed and as designed.

        73.        At all times relevant to this action, Defendants failed to exercise reasonable care

in the designing, manufacturing, marketing, promoting, and/or selling of a dangerous and

defectively designed and/or manufactured product which put users at a substantial and

unnecessary risk of harm.

        74.        The negligence of Defendants, their agents, servants, and/or employees, included,

but was not limited, to the following acts and/or omissions:

              a) Negligently designing the IT9825 in a manner which was dangerous to
                 consumers, including Plaintiff Thomas E. Vinson;

              b) Designing, manufacturing, producing, creating and/or promoting the
                 IT9825 without adequately, sufficiently, and/or thoroughly testing it;

                                              Page 15 of 19
                                           DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 17 of 134




             c) Failing to adequately and correctly warn Plaintiffs and ordinary consumers
                of the dangers of the IT9825;

             d) Failing to recall their dangerous and defective IT9825 at the earliest date
                that it became known that the device was, in fact, dangerous and defective;

             e) Advertising and/or marketing the use of the IT9825 despite the fact that
                Defendants knew or should have known of its defects;

             f) Representing that the IT9825 was safe for its intended purpose when, in
                fact, it was unsafe;

             g) Designing the IT9825 in a manner which posed a significant risk of harm
                to consumers, including Plaintiff Thomas E. Vinson;

             h) Manufacturing the IT9825 in a manner which posed a significant risk of
                harm to consumers, including Plaintiff Thomas E. Vinson; and

             i) Failing to report, under-reporting, underestimating, and/or downplaying
                the serious danger of the IT9825.


       75.      The injuries and damages suffered by Plaintiff Thomas E. Vinson were the

reasonably foreseeable results of Defendants’ negligence.

       76.      Defendants’ negligence/wantonness was a direct and proximate cause of

Plaintiffs’ injuries, damages, harms and economic losses alleged in this case.

       77.      As a foreseeable, direct, and proximate consequence of Defendants’ actions,

omissions, and misrepresentations, Plaintiff Thomas E. Vinson suffered a spinal cord injury

and fracture of the cervical spine, which caused partial quadriplegia, decreased

coordination and balance, occupational disruption and other related health complications.

In addition, Plaintiff Thomas E. Vinson requires and will continue to require healthcare and

services. Plaintiff Thomas E. Vinson has incurred and will continue to incur medical and related

expenses. Plaintiff Thomas E. Vinson also has suffered and will continue to suffer diminished

capacity for the enjoyment of life, a diminished quality of life, increased risk of premature death,

                                           Page 16 of 19
                                              DOCUMENT 2
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 18 of 134




aggravation of preexisting conditions, activation of latent conditions, and other losses and

damages. Plaintiff Thomas E. Vinson has incurred and will continue to incur mental and physical

pain and suffering.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants, individually, jointly, and severally, and request compensatory and punitive damages,

together with interest, costs herein incurred, attorneys’ fees, and all such other and further relief

as this Court deems just and proper. Plaintiffs also demand that the issues contained herein be

tried by a jury.

                                        COUNT VI
                               BREACH OF IMPLIED WARRANTY

        78.        Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

        79.        Defendants were in the business of marketing and selling the IT9825.

        80.        At the time of sale, Defendants’ conduct implied a warranty the IT9825 was

reasonably fit for the ordinary purposes for which such products are used.

        81.        At the time of sale, the IT9825 was not reasonably fit for the ordinary purposes

for which such products are used.

        82.        Because the product was not reasonably fit for its ordinary use, the product was

defective and unreasonably dangerous.

        83.        Defendants’ breach of implied warranty was a direct and proximate cause of the

damages, harms and losses alleged in this case.

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants, individually, jointly, and severally, and request compensatory damages, together

with interest, costs herein incurred, attorneys’ fees, and all such other and further relief as this

                                              Page 17 of 19
                                            DOCUMENT 2
          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 19 of 134




Court deems just and proper. Plaintiffs also demands that the issues contained herein be tried by

a jury.

                                      COUNT VII
                             BREACH OF EXPRESS WARRANTY

          84.    Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

          85.    Defendant Extreme Products expressly warranted to Plaintiff Matthew Vinson,

the following:

                 Extreme Products Group warrants that this product will be free
                 from defects in materials and workmanship for a period of ninety
                 (90) days from the date of purchase. This warranty applies only to
                 the original purchaser when purchase of the product is from an
                 authorized retailer and is for personal or household use, but not
                 when the sale is for commercial use. This warranty is not
                 transferrable.

          86.    Within ninety days of purchase of the IT9825 by Plaintiff Matthew Vinson,

Plaintiffs discovered that the IT9825 was defective when the foot-locking mechanism failed

causing Plaintiff Thomas E. Vinson to fall directly on his head.

          87.    Extreme Products further expressly warranted to Plaintiffs, by and through its

authorized agent or sales representative, Defendant Academy Sports, in publications, package

inserts, the internet, and other communications intended for ordinary consumers that the IT9825

was safe, effective, fit and proper for its intended use.

          88.    Plaintiffs relied on Defendants’ representations regarding the quality and safety of

the IT9825 and Defendants’ representations became part of the basis of the bargain.

          89.    As a direct and proximate result of the conduct of Defendant Extreme Products,

Plaintiffs have suffered injuries, harm, damages and/or economic loss and will continue to suffer

such harm, damages and economic loss in the future.

                                            Page 18 of 19
                                           DOCUMENT 2
        Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 20 of 134




        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants, individually, jointly, and severally, and request compensatory damages, together

with interest, costs herein incurred, attorneys’ fees, and all such other and further relief as this

Court deems just and proper. Plaintiffs also demand that the issues contained herein be tried by a

jury.

        Respectfully Submitted on this, the 4th day of December, 2019,


                                      /s/ Richard A. Wright
                                      Richard A. Wright (WRI055)
                                      Janine McKinnon McAdory (MCK069)
                                      WETTERMARK & KEITH, LLC
                                      3595 Grandview Parkway, Suite 350
                                      Birmingham, Alabama 35243
                                      Phone: (205) 933-9500
                                      Fax: (800) 309-0500
                                      rwright@wkfirm.com
                                      jmcadory@wkfirm.com



PLEASE SERVE DEFENDANTS BY CERTIFIED MAIL

ACADEMY LTD.
c/o CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, Alabama 36104

EXTREME PRODUCTS GROUP, LLC
c/o Corporation Services Company
2711 Centerville Road
Wilmington, Delaware 19808

KOHLBERG KRAVIS ROBERTS & CO.
9 West 57th Street, Suite 4200
New York, New York 10019




                                          Page 19 of 19
                Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 21 of 134

State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     17-CV-2019-900056.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                  IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA
                                    THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
  NOTICE TO:       ACADEMY LTD, C/O CT CORPORATION SYSTM 2 N. JACKSON STREET #605, MONTGOMERY, AL 36104

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  RICHARD ALLEN WRIGHT                                                                           ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2131 MAGNOLIA AVE STE 200, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of THOMAS E. VINSON
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                12/04/2019                                    /s/ JULIE G. POE              By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ RICHARD ALLEN WRIGHT
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 22 of 134

State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     17-CV-2019-900056.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                  IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA
                                    THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
  NOTICE TO:       EXTREME PRODUCTS GROUP, LLC, C/O CORP SERVICES COMPANY 2711 CENTERVILLE ROAD, WILMINGTON, DE 19808

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  RICHARD ALLEN WRIGHT                                                                           ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2131 MAGNOLIA AVE STE 200, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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                12/04/2019                                    /s/ JULIE G. POE              By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ RICHARD ALLEN WRIGHT
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
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                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 23 of 134

State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     17-CV-2019-900056.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                  IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA
                                    THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
  NOTICE TO:       KOHLBERG KRAVIS ROBERTS & CO, 9 WEST 57TH STREET SUITE 4200, NEW YORK, NY 10019

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  RICHARD ALLEN WRIGHT                                                                           ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2131 MAGNOLIA AVE STE 200, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
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                                          PROCEDURE TO SERVE PROCESS:
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     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                12/04/2019                                    /s/ JULIE G. POE              By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ RICHARD ALLEN WRIGHT
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
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                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 24 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 25 of 134
                           DOCUMENT 6
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 26 of 134
                           DOCUMENT 6
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 27 of 134
                           DOCUMENT 7
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 28 of 134
                           DOCUMENT 7
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 29 of 134
                                            DOCUMENT 8
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                                                                                   17-CV-2019-900056.00
                                                                                    CIRCUIT COURT OF
                                                                                 CLAY COUNTY, ALABAMA
                                                                                   JULIE G. POE, CLERK
               IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

THOMAS E. VINSON and                                  )
MATTHEW VINSON,                                       ) CV-2019-900056
                                                      )
       Plaintiffs,                                    )
v.                                                    )
                                                      )
                                                      )
EXTREME PRODUCTS GROUP, LLC,                          )
ACADEMY LTD, d/b/a ACADEMY SPORTS                     )
& OUTDOORS, KOHLBERG KRAVIS                           )
ROBERTS & COMPANY INC, a/k/a KKR                      )
& CO. INC, et al.                                     )


                                  NOTICE OF APPEARANCE


       COMES NOW Janine McKinnon McAdory, of the law firm of Wettermark Keith, LLC,

whose address is 3595 Grandview Parkway, Suite 350, Birmingham, AL 35243, and hereby gives

notice of her appearance as counsel of record in the above-styled case on behalf of the Plaintiffs and

requests that she be served with all pleadings and orders in this case.


                                               Respectfully submitted,


                                               /s/ Janine McKinnon McAdory
                                               JANINE MCKINNON MCADORY (MCK069)
                                               WETTERMARK KEITH, LLC
                                               Attorney for Plaintiff
                                               3595 Grandview Parkway, Suite 350
                                               Birmingham, Alabama 35243
                                               Telephone: (205) 933-9500
                                               Facsimile: (205) 977-7866
                                               Direct Dial: (205) 212-3343
                                               Email: jmcadory@wkfirm.com
            Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 31 of 134


                                       AlaFile E-Notice




                                                                      17-CV-2019-900056.00


To: Janine McKinnon McAdory
    jmcadory@wkfirm.com




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                         THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                     17-CV-2019-900056.00

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                                                                      Julie.Poe@alacourt.gov
           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 32 of 134


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                                                                     17-CV-2019-900056.00


To: ACADEMY LTD (PRO SE)
    C/O CT CORPORATION SYSTM
    2 N. JACKSON STREET #605
    MONTGOMERY, AL, 36104-0000




                   NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 33 of 134


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                                                                     17-CV-2019-900056.00


To: EXTREME PRODUCTS GROUP, LLC (PRO SE)
    C/O CORP SERVICES COMPANY
    2711 CENTERVILLE ROAD
    WILMINGTON, DE, 19808-0000




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                                                                     17-CV-2019-900056.00


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    9 WEST 57TH STREET
    SUITE 4200
    NEW YORK, NY, 10019-0000




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                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 35 of 134


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To: WRIGHT RICHARD ALLEN
    rwright@wkfirm.com




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                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 36 of 134
                          DOCUMENT 10
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 37 of 134
                          DOCUMENT 11
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 38 of 134
                          DOCUMENT 11
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 39 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 40 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 41 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 42 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 43 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 44 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 45 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 46 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 47 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 48 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 49 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 50 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 51 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 52 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 53 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 54 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 55 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 56 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 57 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 58 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 59 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 60 of 134
                          DOCUMENT 12
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 61 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 62 of 134
         Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 63 of 134


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                                                                          17-CV-2019-900056.00
                                                                           Judge: DAVID F. LAW
To: WRIGHT RICHARD ALLEN
    rwright@wkfirm.com




                     NOTICE OF NO SERVICE
                   IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                     THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                 17-CV-2019-900056.00

                       The following matter was not served on 1/27/2020

                           D002 EXTREME PRODUCTS GROUP, LLC
                                      Corresponding To
                                      UNDELIVERABLE




                                                                             JULIE G. POE
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                                                                       ASHLAND, AL, 36251

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          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 64 of 134


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                                                                          17-CV-2019-900056.00
                                                                           Judge: DAVID F. LAW
To: MCADORY JANINE ALICIA MCK
    jmcadory@wkfirm.com




                     NOTICE OF NO SERVICE
                    IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                     THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                 17-CV-2019-900056.00

                       The following matter was not served on 1/27/2020

                          D002 EXTREME PRODUCTS GROUP, LLC
                                      Corresponding To
                                      UNDELIVERABLE




                                                                             JULIE G. POE
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                                                                   CLAY COUNTY, ALABAMA
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                                                                       ASHLAND, AL, 36251

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                                                               65 of 134         FILED
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                                                                                 JULIE G. POE, CLERK
               IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

THOMAS E. VINSON and                         )
MATTHEW VINSON,                              )
                                             )
      PLAINTIFFS,                            )
vs.                                          )
                                             )       Case No.: 2019-900056
ACADEMY LTD., et al.                         )
                                             )
      DEFENDANTS.                            )


                                 ANSWER TO COMPLAINT

       COMES NOW, the Defendant styled as Academy, Ltd. (“Academy”), by and through the

undersigned counsel, and for answer to the Plaintiffs’ Complaint, states as follows:

                                       INTRODUCTION

       Academy denies all allegations made in this section of the Complaint.

                                           PARTIES

       1.      Academy has insufficient information to admit or deny the allegations in this

paragraph.

       2.      Academy has insufficient information to admit or deny the allegations in this

paragraph.

       3.      Academy has insufficient information to admit or deny the allegations in this

paragraph.

       4.      Academy admits that it formed under the laws of the state of Texas and that it

does business in the State of Alabama. All allegations not herein admitted are denied.

       5.      Academy has insufficient information to admit or deny the allegations in this

paragraph.
                                           DOCUMENT 14
      Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 66 of 134




       6.     This paragraph contains allegations against Fictitious Defendants and does not

require an answer from Academy. To the extent this paragraph is interpreted to allege a claim

against Academy, such allegation is denied.

       7.     This paragraph contains allegations against Fictitious Defendants and does not

require an answer from Academy. To the extent this paragraph is interpreted to allege a claim

against Academy, such allegation is denied.

                               JURISDICTION AND VENUE

       8.     Academy has insufficient information to admit or deny the allegations in this

paragraph and therefore denies the same.

       9.     Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       10.    Denied.

       11.    Denied.

                                FACTUAL ALLEGATIONS

       12.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       13.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       14.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       15.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.




                                                2
                                           DOCUMENT 14
      Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 67 of 134




       16.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       17.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       18.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       19.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       20.     Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       21.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       22.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       23.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       24.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

       25.    Academy has insufficient information to admit or deny the allegations of this

paragraph and therefore denies the same.

                            COUNT I
        ALABAMA EXTENDED MANUFACTURER’S LIABILITY DOCTRINE
                      ALABAMA CODE § 6-8-501

       26.    Academy adopts and incorporates herein all responses to Plaintiffs’ allegations.



                                                3
                                     DOCUMENT 14
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 68 of 134




27.     Denied.

28.     Denied.

29.     Denied.

30.     Denied.

31.     Denied.

32.     Denied.

33.     Denied.

34.     Denied.

35.     Denied.

36.     Denied.

37.     Denied.

38.     Denied.

39.     Denied.

40.     Denied.

41.     Denied.

42.     Denied.

43.     Denied.

44.     Denied.

45.     Denied.

46.     Denied.

47.     Denied.

Plaintiffs are not entitled to the requested relief.




                                            4
                                     DOCUMENT 14
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 69 of 134




                                    COUNT II
                                 DESIGN DEFECT

48.     Academy adopts and incorporates herein all responses to Plaintiffs’ allegations.

49.     Denied.

50.     Denied.

51.     Denied.

52.     Denied.

53.     Denied.

54.     Denied.

55.     Denied.

56.     Denied.

57.     Denied.

Plaintiffs are not entitled to the requested relief.

                                COUNT III
                          MANUFACTURING DEFECT

58.     Academy adopts and incorporates herein all responses to Plaintiffs’ allegations.

59.     Denied.

60.     Denied.

61.     Denied.

62.     Denied.

63.     Denied.

64.     Denied.

65.     Denied.

Plaintiffs are not entitled to the requested relief.



                                            5
                                     DOCUMENT 14
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 70 of 134




                                   COUNT IV
                               FAILURE TO WARN

66.     Academy adopts and incorporates herein all responses to Plaintiffs’ allegations.

67.     Denied.

68.     Denied.

69.     Denied.

Plaintiffs are not entitled to the requested relief.

                             COUNT V
                   NEGLIGENCE AND/OR WANTONNESS

70.     Academy adopts and incorporates herein all responses to Plaintiffs’ allegations.

71.     Denied.

72.     Denied.

73.     Denied.

74.     Denied, including all subparts.

75.     Denied.

76.     Denied.

77.     Denied.

Plaintiffs are not entitled to the requested relief.

                               COUNT VI
                      BREACH OF IMPLIED WARRANTY

78.     Academy adopts and incorporates herein all responses to Plaintiffs’ allegations.

79.     Denied.

80.     Denied.

81.     Denied.

82.     Denied.


                                            6
                                            DOCUMENT 14
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 71 of 134




       83.     Denied.

       Plaintiffs are not entitled to the requested relief.

                                     COUNT VII
                            BREACH OF EXPRESS WARRANTY

       84.     Academy adopts and incorporates herein all responses to Plaintiffs’ allegations.

       85.     Denied.

       86.     Denied.

       87.     Denied.

       88.     Denied.

       89.     Denied.

       Plaintiffs are not entitled to the requested relief.



                                  AFFIRMATIVE DEFENSES

                                         FIRST DEFENSE

       The allegations of Plaintiffs’ Complaint, and each cause of action stated therein, fail to

state a claim upon which relief can be granted.

                                       SECOND DEFENSE

       Academy pleads lack of jurisdiction over the subject matter, lack of jurisdiction over the

person, improper venue, insufficiency of process, and insufficiency of service of process.

                                        THIRD DEFENSE

       Academy pleads the defenses of contributory negligence and assumption of the risk.

                                       FOURTH DEFENSE

       Academy asserts the defense of efficient, intervening, or superseding cause.



                                                   7
                                           DOCUMENT 14
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 72 of 134




                                       FIFTH DEFENSE

       Academy asserts the affirmative defenses of learned intermediary doctrine and

sophisticated user doctrine.

                                       SIXTH DEFENSE

       Academy asserts the defenses of misuse and/or alteration and/or modification of the

product made the basis of the Complaint.

                                     SEVENTH DEFENSE

       Academy asserts that it is entitled to a set-off, credit, or recoupment of any recovery by

the Plaintiffs or from any other person or entity, including, but not limited to, settlements or

otherwise.

                                      EIGHTH DEFENSE

       Academy asserts the affirmative defense of no causal relation in fact.

                                       NINTH DEFENSE

       Academy asserts that the failure of Plaintiffs to properly use the product at issue pursuant

to manufacturer’s instructions and guidelines was an intervening proximate cause of the alleged

condition and Plaintiffs’ alleged damages, although such are not admitted.

                                       TENTH DEFENSE

       Academy asserts that any product that may have been supplied by Academy was sold

without defect, modification, change, or alteration of any kind.

                                    ELEVENTH DEFENSE

       At the time of sale or delivery, the product conformed to state-of-the-art for such

products.



                                                 8
                                           DOCUMENT 14
        Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 73 of 134




                                     TWELFTH DEFENSE

        Any and all claims against Academy are barred in whole or in part because the product at

issue provided a benefit to users of such products and greatly outweighed any risk created by

using such products, any risk could not have been avoided through the use of the highest

standards of scientific and technical knowledge available at the time, the benefit provided to

users could not be achieved in another manner with less risk, and adequate warnings concerning

the risk were provided.

                                   THIRTEENTH DEFENSE

        At all relevant times herein, the product in question was manufactured and distributed

with proper warnings, information, cautions, and instructions in conformity with generally

recognized and prevailing standards in existence at the time.

                                   FOURTEENTH DEFENSE

        Plaintiffs’ claims are or may be barred by the statutes of limitations, prescription, laches,

and/or statues of repose, including but not limited to, all claims for personal injuries pursuant to

Alabama law.

                                    FIFTEENTH DEFENSE

        Academy denies that any action on its part was the proximate cause of the Plaintiffs’ alleged

injuries.

                                    SIXTEENTH DEFENSE

        Academy exercised no control over, and had no legal right or duty to control, the manner

in which the products sold or supplied reached the ultimate users thereof, or the use or manner of

use, storage or handling of the product allegedly involved after purchase.




                                                 9
                                           DOCUMENT 14
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 74 of 134




                                   SEVENTEENTH DEFENSE

       The claims in the Complaint are barred by the express terms of the applicable contracts,

warranty, or agreement and limitations provided therein.

                                    EIGHTEENTH DEFENSE

       Some or all of the claims may be barred by the doctrines of accord and satisfaction,

settlement, abandonment, discharge, consent, setoff, ratification, acquiescence, recoupment,

payment, release, judicial estoppel, equitable estoppel, waiver and res judicata.

                                    NINETEENTH DEFENSE

       Plaintiffs cannot recover for mental pain and suffering, emotional distress, or similar

damages, if any, in that there is no fixed, objective and/or clear and consistent standard under

Alabama law for ascertaining the amount thereof, such that any award of said damages against

any defendant would violate the Fifth and Fourteenth Amendments to the United States

Constitution and Article I, Section VI of the Alabama Constitution, which prohibit deprivation of

life, liberty, or property, except by due process.

                                     TWENTIETH DEFENSE

       With regard to punitive damages, Academy pleads the following punitive damages

defenses:

       1.     Plaintiffs’ claim of punitive damages violates the Fourth, Fifth, Sixth, and
       Fourteenth Amendments of the Constitution of the United States, and Article I Section 6 of
       the Constitution of Alabama, on the following grounds:

       a.      It is in violation of the Due Process and Equal Protection Clauses of the
               Fourteenth Amendment of the United States Constitution to impose punitive
               damages, which are penal in nature, against civil defendants upon the
               plaintiff's satisfying a burden of proof which is less than the "beyond a
               reasonable doubt" burden of proof required in criminal cases;

       b.      The procedures pursuant to which punitive damages are awarded may result
               in the award of joint and several judgments against multiple defendants for

                                                     10
                                          DOCUMENT 14
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 75 of 134




               different alleged acts of wrongdoing, which infringes the Due Process and
               Equal Protection Clauses of the Fourteenth Amendment of the United States
               Constitution;

       c.      The procedures pursuant to which punitive damages
               are awarded fail to provide a reasonable limit on the amount of the award
               against defendants, which thereby violates the Due Process and Equal
               Protection Clauses of the Fourteenth Amendment of the United States
               Constitution;

       d.      The procedures pursuant to which punitive damages are awarded fail to
               provide specific standards, or provides vague or insufficient standards, for
               the amount of the award of punitive damages which thereby violates the Due
               Process Clause of the Fourteenth Amendment of the United States
               Constitution;

       e.      The procedures pursuant to which punitive damages are awarded result in
               the imposition of different penalties for the same or similar acts and, thus,
               violate the Equal Protection Clause of the Fourteenth Amendment of the
               United States Constitution;

       f.      The procedures pursuant to which punitive damages are awarded permit the
               imposition of punitive damages in excess of the maximum criminal fine for
               the same or similar conduct, which thereby infringes the Due Process Clause
               of the Fifth and Fourteenth Amendments and the Equal Protection Clause of
               the Fourteenth Amendment of the United States Constitution;

       g.      The procedures pursuant to which punitive damages are awarded fail to
               require that an award of punitive damages be proportioned, or bear a
               reasonable relationship, to the actual harm incurred.

       h.      The procedures pursuant to which punitive damages are awarded fail to
               provide mitigating factors for the jury's consideration in awarding punitive
               damages.

       2.       Plaintiffs’ claim of punitive damages violates the Due Process Clause of Article I,
Section 6 of the Constitution of Alabama on the following grounds:

       a.      It is a violation of the Due Process Clause to impose punitive damages,
               which are penal in nature, upon civil defendants upon the plaintiff's
               satisfying a burden of proof less than the "beyond a reasonable doubt"
               burden of proof required in criminal cases;

       b.      The procedures pursuant to which punitive damages are awarded fail to
               provide a limit on the amount of the award against the defendants;



                                                11
                                    DOCUMENT 14
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 76 of 134




c.     The procedures pursuant to which punitive damages are awarded are
       unconstitutionally vague;

d.     The procedures pursuant to which punitive damages are awarded fail to
       provide specific standards for the amount of the award of punitive damages;
       and

e.     The award of the punitive damages in this case constitutes a deprivation of
       property without due process of law.

3.      Plaintiff's attempt to impose punitive or extracontractual damages on these
defendants, on the basis of vicarious liability for the conduct by others, violates the Fifth,
Eighth, and Fourteenth Amendments of the United States Constitution and Article I, Section
6 of the Alabama Constitution.

4.     The award of punitive damages to the plaintiff in this action would constitute a
deprivation of property without due process of law required under the Fifth and Fourteenth
Amendments of the United States Constitution and Article I, Section 6 of the Alabama
Constitution.

5.     The award of punitive damages against the defendants in this action would violate
the prohibition against laws that impair the obligations of contracts in violation of Article I,
Section 22 of the Constitution of Alabama.

6.     The procedures pursuant to which punitive damages are awarded permit the
imposition of punitive damages in excess of the amount established by the legislature under
Ala. Code Section 27-1-17 (1975), in violation of the Due Process Clause of the Fifth and
Fourteenth Amendments of the U.S. Constitution and Article I, Section 6, of the Alabama
Constitution.

                           TWENTY-FIRST DEFENSE

Academy pleads the innocent seller defense.

                         TWENTY-SECOND DEFENSE

Academy pleads all available defenses found in Alabama Code § 6-5-521.

                           TWENTY-THIRD DEFENSE

Academy reserves the right to amend its answer as future discovery may dictate.


                                        /s/ John E. Rollins
                                        J. BURRUSS RIIS (RII002)
                                        JOHN E. ROLLINS (ROL009)
                                        Attorneys for Defendant Academy, Ltd.

                                          12
                                         DOCUMENT 14
       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 77 of 134




OF COUNSEL:
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E-mail:briis@handfirm.com


OF COUNSEL:
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(205) 322-1163 (Facsimile)
E-mail:jrollins@handfirm.com




                                CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2020, the foregoing was electronically filed with the
Clerk of this Court using the Court’s electronic system, which will send notification of such
filing to the following and/or that the following was served upon the following via U.S. mail,
postage prepaid:




                                             /s/ John E. Rollins
                                             OF COUNSEL




                                               13
            Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 78 of 134


                                       AlaFile E-Notice




                                                                         17-CV-2019-900056.00


To: JOHN EMORY ROLLINS
    jrollins@handfirm.com




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                       IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                         THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                     17-CV-2019-900056.00

                        The following answer was FILED on 2/3/2020 2:34:53 PM




     Notice Date:    2/3/2020 2:34:53 PM




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                                                                          ASHLAND, AL, 36251

                                                                                   256-354-7926
                                                                          Julie.Poe@alacourt.gov
           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 79 of 134


                                      AlaFile E-Notice




                                                                        17-CV-2019-900056.00


To: ACADEMY LTD (PRO SE)
    C/O CT CORPORATION SYSTM
    2 N. JACKSON STREET #605
    MONTGOMERY, AL, 36104-0000




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                                    17-CV-2019-900056.00

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                                                                        17-CV-2019-900056.00


To: EXTREME PRODUCTS GROUP, LLC (PRO SE)
    C/O CORP SERVICES COMPANY
    2711 CENTERVILLE ROAD
    WILMINGTON, DE, 19808-0000




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                                                                        17-CV-2019-900056.00


To: KOHLBERG KRAVIS ROBERTS & CO (PRO SE)
    9 WEST 57TH STREET
    SUITE 4200
    NEW YORK, NY, 10019-0000




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To: WRIGHT RICHARD ALLEN
    rwright@wkfirm.com




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           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 83 of 134


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To: MCADORY JANINE ALICIA MCK
    jmcadory@wkfirm.com




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                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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         Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 PageELECTRONICALLY
                                                                 84 of 134         FILED
                                                                    2/3/2020 4:01 PM
STATE OF ALABAMA            Revised 3/5/08             Case No.   17-CV-2019-900056.00
Unified Judicial System                                                                                                   CIRCUIT COURT OF
17-CLAY                                                           District Court      Circuit Court                    CLAY COUNTY, ALABAMA
                                                                                                             CV201990005600
                                                                                                                         JULIE G. POE, CLERK
                                                                                               CIVIL MOTION COVER SHEET
THOMAS E. VINSON ET AL V. ACADEMY LTD ET                                           Name of Filing Party:D003 - KOHLBERG KRAVIS ROBERTS & CO
AL

Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                     Oral Arguments Requested
 COLE ROBINSON GRESHAM
 100 BROOKWOOD PL. 7TH FL.
 BIRMINGHAM, AL 35209
Attorney Bar No.: GRE127

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                             Add Party
      Joinder in Other Party's Dispositive Motion                                           Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                     Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                              Compel
      Judgment on the Pleadings ($50.00)                                                    Consolidation
      Motion to Dismiss, or in the Alternative                                              Continue
      SummaryJudgment($50.00)                                                               Deposition
      Renewed Dispositive Motion(Summary                                                    Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                          Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                            Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                            Extension of Time
      Motion to Intervene ($297.00)
                                                                                            In Limine
      Other
                                                                                            Joinder
  pursuant to Rule                                                         ($50.00)
                                                                                            More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                         Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                            Objection of Exemptions Claimed
      Local Court Costs $               0                                                   Pendente Lite
                                                                                            Plaintiff's Motion to Dismiss
                                                                                            Preliminary Injunction
                                                                                            Protective Order
                                                                                            Quash
                                                                                            Release from Stay of Execution
                                                                                            Sanctions
                                                                                            Sever
                                                                                            Special Practice in Alabama
                                                                                            Stay
                                                                                            Strike
                                                                                            Supplement to Pending Motion
                                                                                            Vacate or Modify
                                                                                            Withdraw
                                                                                           Other
                                                                                         pursuant to Rule                                (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ COLE ROBINSON GRESHAM
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
                                                                   2/3/2020 4:00:22 PM
of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                               DOCUMENT 17
      Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 PageELECTRONICALLY
                                                                 of 134 4:01 PMFILED
                                                              85 2/3/2020
                                                                                         17-CV-2019-900056.00
                                                                                          CIRCUIT COURT OF
                                                                                       CLAY COUNTY, ALABAMA
                                                                                         JULIE G. POE, CLERK
             IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

THOMAS E. VINSON, et al.

         Plaintiffs,

vs.                                                           <;   CASENo: 17-CV-2019-900056.00

EXTREME PRODUCTS GROUP, LLC,
et al.


         Defendants.

                           KKR & CO. INC/S MOTION TO DISMISS


         Defendant, KKR & Co., Inc. ("KKR")', pursuant to Alabama Rules of Civil

Procedure 12(b)(2) and 12(b)(6), hereby by requests that the Court dismiss Plaintiffs'

claims against KKR. The Court lacks personal jurisdiction over KKR in this action because

the only alleged contact between KKR and Alabama is through KKR's portfolio company

Academy Sports & Outdoors. Absent piercing the corporate veil, which has not been

alleged here, the contacts of a separate corporate entity are not imputed to a parent

corporation. Further, even assuming the Court has personal jurisdiction. Plaintiffs fail to

state a claim because Alabama's Innocent Seller statute bars product liability claims against

retailers or sellers of a product subject to certain exceptions that have not been alleged here.

Therefore, as discussed further below, the claims against KKR are due to be dismissed.




         ' The Complaint incorrectly names the KKR Defendant. The Complaint names "Kohlberg Kravis Roberts &
Company, Inc. a/k/a KKR & Co. Inc." as a defendant. (Doc. 2, § 5). According to the Delaware Secretary of State,
there is    no     corporate entity    known     as   Kohlberg      Kravis    Roberts   &     Company,      Inc.
(https://icis.corp.delaware.gov/Ecorp/EntitvSearch/NameSearch.asDx).   To the extent that Plaintiffs intended to
name KKR & Co. Inc., those claims fail as set forth herein.


{B3401822}
                          DOCUMENT 17
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 86 of 134
                          DOCUMENT 17
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 87 of 134
                          DOCUMENT 17
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 88 of 134
                          DOCUMENT 17
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 89 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 90 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 91 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 92 of 134
           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 93 of 134


                                       AlaFile E-Notice




                                                                       17-CV-2019-900056.00
                                                                        Judge: DAVID F. LAW
To: WRIGHT RICHARD ALLEN
    rwright@wkfirm.com




                     NOTICE OF CASE SETTING
                      IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                    17-CV-2019-900056.00

                             The following matter is SET FOR HEARING

                             D003 KOHLBERG KRAVIS ROBERTS & CO
                         MOTION TO DISMISS PURSUANT TO RULE 12(B)
                                  [Filer: GRESHAM COLE ROBINSON]

    Hearing Date:   03/24/2020
    Hearing Time:   09:00:00 AM
    Location:

    Notice Date:    2/4/2020 10:57:30 AM




                                                                             JULIE G. POE
                                                                    CIRCUIT COURT CLERK
                                                                   CLAY COUNTY, ALABAMA
                                                                               PO BOX 816
                                                                       ASHLAND, AL, 36251

                                                                                256-354-7926
                                                                       Julie.Poe@alacourt.gov
           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 94 of 134


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                                                                       17-CV-2019-900056.00
                                                                        Judge: DAVID F. LAW
To: MCADORY JANINE ALICIA MCK
    jmcadory@wkfirm.com




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            Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 95 of 134


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                                                                        17-CV-2019-900056.00
                                                                         Judge: DAVID F. LAW
To: ROLLINS JOHN EMORY
    jrollins@handfirm.com




                      NOTICE OF CASE SETTING
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           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 96 of 134


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                                                                       17-CV-2019-900056.00
                                                                        Judge: DAVID F. LAW
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    cgresham@starneslaw.com




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           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 97 of 134


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                                                                       17-CV-2019-900056.00
                                                                        Judge: DAVID F. LAW
To: EXTREME PRODUCTS GROUP, LLC (PRO SE)
    C/O THE COMPANY CORP.
    251 LITTLE FALLS DRIVE
    WILMINGTON, DE, 19808-0000




                     NOTICE OF CASE SETTING
                      IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 PageELECTRONICALLY
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                                                             CIRCUIT COURT OF
                                                          CLAY COUNTY, ALABAMA
                                                            JULIE G. POE, CLERK
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 99 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 100 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 101 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 102 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 103 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 104 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 105 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 106 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 107 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 108 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 109 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 110 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 111 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 112 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 113 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 114 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 115 of 134
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Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 116 of 134
          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 117 of 134


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To: RICHARD ALLEN WRIGHT
    rwright@wkfirm.com




                   NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                    17-CV-2019-900056.00

                    The following alias summons was FILED on 2/4/2020 10:02:15 AM




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                                                                       CIRCUIT COURT CLERK
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                                                                                  256-354-7926
                                                                         Julie.Poe@alacourt.gov
          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 118 of 134


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                                                                         17-CV-2019-900056.00


To: EXTREME PRODUCTS GROUP, LLC
    C/O THE COMPANY CORP.
    251 LITTLE FALLS DRIVE
    WILMINGTON, DE, 19808




                   NOTICE OF ELECTRONIC FILING
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                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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                                                                         Julie.Poe@alacourt.gov
          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 119 of 134


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                                                                         17-CV-2019-900056.00


To: MCADORY JANINE ALICIA MCK
    jmcadory@wkfirm.com




                   NOTICE OF ELECTRONIC FILING
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                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 120 of 134


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                                                                          17-CV-2019-900056.00


To: ROLLINS JOHN EMORY
    jrollins@handfirm.com




                    NOTICE OF ELECTRONIC FILING
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                         THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
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                                                                          Julie.Poe@alacourt.gov
          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 121 of 134


                                       AlaFile E-Notice




                                                                         17-CV-2019-900056.00


To: GRESHAM COLE ROBINSON
    cgresham@starneslaw.com




                   NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                    17-CV-2019-900056.00

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                                                                      CLAY COUNTY, ALABAMA
                                                                                  PO BOX 816
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                                                                                  256-354-7926
                                                                         Julie.Poe@alacourt.gov
               Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 122 of 134

State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     17-CV-2019-900056.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                  IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA
                                    THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
  NOTICE TO:       EXTREME PRODUCTS GROUP, LLC, C/O THE COMPANY CORP. 251 LITTLE FALLS DRIVE, WILMINGTON, DE 19808

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  RICHARD ALLEN WRIGHT                                                                           ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 2131 MAGNOLIA AVE STE 200, BIRMINGHAM, AL 35205                                                                  .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of VINSON THOMAS E.
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                02/04/2020                                    /s/ JULIE G. POE               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ RICHARD ALLEN WRIGHT
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                  (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                           DOCUMENT 23
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 123 of 134
                           DOCUMENT 23
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 124 of 134
DOCUMENT 24
              ELECTRONICALLY FILED
                  2/17/2020 12:34 PM
                17-CV-2019-900056.00
                 CIRCUIT COURT OF
              CLAY COUNTY, ALABAMA
                JULIE G. POE, CLERK
                                       Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 125 of 134
              Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 126 of 134
DOCUMENT 24
          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 127 of 134


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                                                                     17-CV-2019-900056.00


To: RICHARD ALLEN WRIGHT
    rwright@wkfirm.com




                   NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF CLAY COUNTY, ALABAMA

                        THOMAS E. VINSON ET AL V. ACADEMY LTD ET AL
                                    17-CV-2019-900056.00

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          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 128 of 134


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                                                                     17-CV-2019-900056.00


To: EXTREME PRODUCTS GROUP, LLC (PRO SE)
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          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 129 of 134


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           Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 130 of 134


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                                                                      17-CV-2019-900056.00


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          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 131 of 134


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          Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 132 of 134


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                           DOCUMENT 26
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 133 of 134
                           DOCUMENT 26
Case 1:20-cv-00321-CLM Document 1-1 Filed 03/09/20 Page 134 of 134
